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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIA
                             ORLANDO DIVISION


 JENNIFER SMITH,

              Plaintiff,

 v.                                     CASE NO: 6:24-cv-00457-PGB-RMN

 THE FLORIDA AGRICULTURAL &
 MECHANICAL UNIVERSITY
 BOARD OF TRUSTEES,

            Defendant.
 _________________________________/

                 DEFENDANT’S RESPONSE TO PLAINTIFF’S
                RENEWED MOTION TO AMEND COMPLAINT

       Defendant, The Florida Agricultural & Mechanical University Board of

 Trustees (“University”), hereby responds to Plaintiff’s Renewed Motion to Amend

 Complaint (“Renewed Motion”), and respectfully requests this Honorable Court to

 render an Order denying Plaintiff’s untimely Motion. [Doc. 133].

       I.     History

       On April 11, 2024, the parties conducted a planning conference and negotiated

 deadlines for the course of this case. [Doc. 43]. The proposed deadline for amending

 pleadings and adding parties was suggested as June 26, 2024 in the parties’ April 12,

 2024 Uniform Case Management Report. [Doc. 44]. On April 15, 2024, the Court

 entered a Case Management and Scheduling Order, setting May 31, 2024 as the

 deadline for amending pleadings and adding parties. [Doc. 45].
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          II.   Memorandum of Law

    A. Standard of Review

          “A district court's decision to enforce its pre-trial order will not be disturbed on

 appeal absent an abuse of discretion. Santiago v. Lykes Bros. Steamship Co., 986 F.2d

 423, 427 (11th Cir.1993).” Sosa v. Airprint Systems, Inc., 133 F.3d 1417, 1418 (11th Cir.

 1998).

          The Eleventh Circuit reviews “a district court's denial of a motion to amend for

 abuse of discretion” and “de novo [for] a decision that a particular amendment to the

 complaint would be futile.” Cockrell v. Sparks, 510 F.3d 1307, 1310 (11th Cir. 2007)

 (citing Harris v. Ivax Corp., 182 F.3d 799, 802 (11th Cir. 1999)).

    B. Renewed Motion Untimely

          The parties negotiated the sequence and timing of this case, and this Court

 established deadlines in the Case Management and Scheduling Order. [Doc. 45]. The

 deadline in the Case Management and Scheduling Order (“Scheduling Order”) for

 seeking amendment to pleadings and adding parties was May 31, 2024, rendering

 Plaintiff’s Renewed Motion filed on July 26, 2024, untimely. [Docs. 45, 133].

          A Case Management and Scheduling Order may only be modified thereafter

 upon a showing of good cause.

       District courts are required to “enter a scheduling order that limits the
       time to ... join other parties and to amend the pleadings ...” Fed.R.Civ.P.
       16(b). Such orders “control the subsequent course of the action unless
       modified by a subsequent order,” Fed.R.Civ.P. 16(e), and may be
       modified only “upon a showing of good cause.” Fed.R.Civ.P. 16(b).




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       This good cause standard precludes modification unless the schedule
       cannot “be met despite the diligence of the party seeking the extension.”

 Sosa v. Airprint Systems, Inc., 133 F.3d 1417, 1418 (11th Cir. 1998).

       Within the Scheduling Order deadline in this case, Plaintiff sought an extension

 of time and leave to file an amended complaint. [Doc. 54]. This was the only timely

 motion to extend and amend filed by Plaintiff. An extension of time was granted in

 the Court’s Order of June 21, 2024. [Doc. 71]. The Court granted leave to Plaintiff to

 file a motion for extension with a proposed Second Amended Complaint, reasoning

 that the motion for extension of time and to amend was filed within the deadline in

 the Scheduling Order. [Docs. 54, 65, 65-1, 71].

       Plaintiff thereafter filed a different proposed Second Amended Complaint

 which varied significantly from the one she was granted leave to request. [Doc. 72-1].

 Nevertheless, the Court granted leave to file this version. [Doc. 80]. On July 8, 2024,

 Plaintiff filed a still newer version of the Second Amended Complaint, and then on

 July 9, she filed a Corrected Second Amended Complaint with more changes, both of

 which were stricken. [Docs. 81, 84, and 132]. In granting the Defendant’s Motion to

 Strike, the Court gave Plaintiff another opportunity to file the proposed Second

 Amended Complaint she had been granted leave to file previously or another Motion

 to Amend. [Docs. 72-1, 80, 132].

       There is no reason to relate the instant Renewed Motion to Amend back to the

 timely Motion for Extension of Time and to File Amended Complaint dated May 20,




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 2024. [Doc. 54]. Further, Plaintiff does not, as she should, seek modification of the

 Case Management and Scheduling Order. [Doc. 45].

       Plaintiff has chosen not to file the Second Amended Complaint which this

 Court granted leave to file as the operative pleading. [Docs. 72-1, 80, 132]. Instead,

 Plaintiff filed two versions which were stricken and has now filed a “Renewed Motion

 to Amend” far beyond the deadline established by this Court. [Docs. 45, 133]. Plaintiff

 essentially now seems to assume that the Renewed Motion relates back to her original

 one without any authority provided, or modification of the Scheduling Order without

 asking. [Doc. 45]. “A schedule may be modified only for good cause and with the

 judge's consent.” FRCP Rule 16. Plaintiff must seek a modification of the Scheduling

 Order and show good cause for the request. Plaintiff here has done neither.

       In the Renewed Motion, Plaintiff only obliquely refers to seeking an extension

 in paragraphs 4 and 6, and in the Wherefore clause. However, there is no showing of

 good cause, and no request to modify the Scheduling Order. Active Packet, LLC v.

 Netgen, Inc., 2020 WL 9073330, at *1 (M.D. Fla. May 12, 2020).

       [A district court’s scheduling order] may be modified only “upon a
       showing of good cause.” Fed.R.Civ.P. 16(b).This good cause standard
       precludes modification unless the schedule cannot “be met despite the
       diligence of the party seeking the extension.” Fed.R.Civ.P. 16 advisory
       committee's note; see also Johnson v. Mammoth Recreations, Inc., 975 F.2d
       604, 609 (9th Cir. 1992) (“If [a] party was not diligent, the [good cause]
       inquiry should end.”).

 Sosa at 1418.




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       Plaintiff simply complains that the University acts as an adversary in this

 adversarial proceeding and the Court does not instruct her adequately in what to do.

 [Doc. 133, pp. 2, 14]. Neither good cause nor diligence is found in either charge.

       More significantly, failure to comply with a Court’s Orders demonstrates a lack

 of diligence in itself. “The Eleventh Circuit Court of Appeals has found that a district

 court does not abuse its discretion when it dismisses a case based on actions ‘which

 demonstrate[ ] a lack of diligence in prosecuting th[e] action or a failure to comply

 with [the Court's] obligations[.]’ Clark v. Keen, 346 Fed.Appx. 441, 442 (11th

 Cir.2009).” [Emphasis added]. Norris v. Daysi Ynigo Landscaping & Lawn Service, LLC,

 178 F.Supp.3d 1298, 1299 (S.D. Fla. Apr. 7, 2016). This cause should likewise be

 dismissed.

       A plaintiff seeking leave to amend its complaint after the deadline
       designated in a scheduling order must demonstrate “good cause” under
       Fed.R.Civ.P. 16(b). See Sosa v. Airprint Sys., 133 F.3d 1417, 1418 n. 2
       (11th Cir.1998) (“[W]hen a motion to amend is filed after a scheduling
       order deadline, Rule 16 is the proper guide for determining whether a
       party's delay may be excused.”); Fed.R.Civ.P. 16(b)(4) (“A schedule may
       be modified only for good cause and with the judge's consent.”). In Sosa,
       we upheld the district court's denial of the plaintiff's motion to amend her
       complaint because the plaintiff's failure to comply with the court's
       scheduling order resulted from a “lack of diligence in pursuing her
       claim.” 133 F.3d at 1419. The record supports the district court's
       conclusion that Southern Grouts similarly lacked diligence in pursuing
       its claim.

 Southern Grouts & Mortars, Inc. v. 3M Co., 575 F.3d 1235, 1241 (11th Cir. 2009).

       In the instant case, Plaintiff has been prolific, but not diligent. “Diligence means

 more than just being busy.” Davila v. Lowes Home Centers, LLC, 2024 WL 2053711, at

 *2 (M.D. Fla. Apr. 29, 2024), citing Martinez v. D2C, LLC, No. 23-21394-CIV, 2024


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 WL 1254376, at *2 (S.D. Fla. Mar. 25, 2024). Plaintiff could have filed the Second

 Amended Complaint she was directed to file and had permission to file. [Docs. 72-1,

 80, 132]. She chose not to do so. “Diligence means that a party has worked earnestly,

 steadily, energetically and conscientiously to accomplish their goal.” Freedman v.

 Suntrust Banks, Inc., 2016 WL 3196464, at *6 (M.D. Fla. June 9, 2016).

       Instead, Plaintiff has ignored the law and this Court’s Orders, complaining that

 all involved should be assisting her. “Failure to exercise diligence means that good

 cause does not exist.” Jarema v. United States, 2020 WL 9349566, at *2 (M.D. Fla. June

 30, 2020). “’[G]ood cause’ means scheduling deadlines cannot be met despite party's

 diligence.” Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 609 (9th Cir.1992,

 citing Miller & Kane, Federal Practice and Procedure § 1522.1 at 231 (2d ed. 1990).

 Plaintiff could have met the deadlines. She could have heeded the original Orders.

 Plaintiff should not be indulged for not doing so.

       Nor should the Court consider at this juncture whether the Renewed

 Motion does or does not cause prejudice to the University, as argued by Plaintiff.

 [Doc. 133, p. 2]. “The existence or degree of prejudice to the party opposing the

 modification might supply additional reasons to deny a motion, the focus of the

 inquiry is upon the moving party's reasons for seeking modification. [citation omitted].

 If that party was not diligent, the inquiry should end.” Johnson at 609.

       This Court will not abuse its discretion by denying the Renewed Motion to

 Amend. [Doc. 133]. It is filed outside the Scheduling Order’s deadline and does not

 meet the legal standard for modification. [Doc. 45]. It barely asks for an extension at

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 all. Rule 15’s mandate for liberal amendment can only be addressed after good cause

 is shown by Plaintiff, and she has not done so. Sosa at 1419. “If we considered only

 Rule 15(a) without regard to Rule 16(b), we would render scheduling orders

 meaningless and effectively would read Rule 16(b) and its good cause requirement out

 of the Federal Rules of Civil Procedure.” Id.

       The district court did not abuse its discretion in denying [Plaintiff’s]
       motion for failure to show good cause why it did not amend its complaint
       before the amendment deadline imposed in the scheduling order or
       during extensions of that deadline.

 Southern Grouts & Mortars, Inc. v. 3M Co., 575 F.3d 1235, 1243 (11th Cir. 2009).

       Deadlines and rules should have meaning for both sides.

       WHEREFORE, Defendant, Florida Agricultural & Mechanical University

 Board of Trustees prays that this Honorable Court will deny Plaintiff’s Renewed

 Motion to Amend Complaint, and grant such other relief as it shall deem proper.

                                              /s/ Maria A. Santoro
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                             CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on this 2d day of August, 2024, I electronically filed
 the foregoing with the Clerk of the Court by using the CM/ECF system which will
 send a notice of electronic filing to all registered users and counsel in this case.

                                                /s/ Maria A. Santoro_______________
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